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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


REJON TAYLOR, et al.,

                        Plaintiffs,

                v.
                                            Case No.
DONALD J. TRUMP, et al., in their
official capacities,

                        Defendants.



                      DECLARATION OF CORENE T. KENDRICK
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       I, CORENE T. KENDRICK, DECLARE:

       1.      I am an attorney admitted to practice before the courts of the State of California.

My application for admission pro hac vice in this matter is forthcoming. I am Deputy Director of

the National Prison Project of the American Civil Liberties Union Foundation (“ACLU”).

       2.      Attached herein as Exhibit 1 is a true and correct copy of the Executive Grant of

Clemency issued by President Joseph R. Biden, Jr., commuting the death sentences of 37 people on

federal death row to life without parole. This document is available on the U.S. Department of

Justice (“DOJ”) website at https://www.justice.gov/pardon/media/1382291/dl?inline.

       3.      Attached herein as Exhibit 2 is a true and correct copy of Executive Order 14164,

Restoring Capital Punishment and Protecting Public Safety, issued by Defendant Donald J. Trump

on January 20, 2025, published at 90 Fed. Reg. 8463, and available online at

https://www.govinfo.gov/content/pkg/FR-2025-01-30/pdf/2025-02012.pdf.

       4.      Attached herein as Exhibit 3 is a true and correct copy of an “Attorney General

Memo for all Department Employees,” entitled Restoring a Measure of Justice to the Families of

Victims of Commuted Murders, issued by Defendant Pamela Bondi on Feb. 5, 2025, available on

the DOJ website at https://www.justice.gov/ag/media/1388526/dl?inline, and referred to as the

“Bondi Memo.”

       5.      Attached herein as Exhibit 4 is a true and correct copy of Federal Bureau of Prisons

(“BOP”), Care Level Classification for Medical and Mental Health Conditions or Disabilities,

Federal Bureau of Prisons Clinical Guidance, dated May 2019, and available on the BOP website

at https://www.bop.gov/resources/pdfs/care_level_classification_guide.pdf.

       6.      Attached herein as Exhibit 5 is a true and correct copy of BOP Program Statement

(“PS”) 5310.16 CN-1, Treatment and Care of Inmates with Mental Illness, dated Feb. 18, 2025,



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available on the BOP website at https://www.bop.gov/policy/progstat/5310_016_cn-1.pdf.

        7.     Attached herein as Exhibit 6 is a true and correct copy of BOP PS 5100.08 CN-2,

Inmate Security Designation and Custody Classification, dated March 6, 2025, available on the

BOP website at https://www.bop.gov/policy/progstat/5100_008_cn-2.pdf.

        8.     Attached herein as Exhibit 7 is a true and correct copy of a BOP Policy Memo for

Chief Executives, entitled Administrative Maximum Facility (ADX) Referral Procedures, issued by

Blake R. Davis, dated October 1, 2012, and referred to as the “2012 ADX Referral Memo.”

        9.     Attached herein as Exhibit 8 is the expert affidavit signed and sworn by Paul

Gibson, former BOP official and current Chief Operations Officer with the Federal Prison

Education and Reform Alliance.

        10.    Attached herein as Exhibit 9 is the expert declaration and appendices, signed and

sworn by Craig Haney, J.D., Ph.D., professor of psychology at the University of California, Santa

Cruz.

        11.    Attached herein as Exhibit 10 is the declaration of David Patton.

        12.    Attached herein as Exhibit 11 is a true and correct copy of the Notice of Hearing on

Referral for Transfer to ADX Florence General Population for Plaintiff Jurijus Kadamovas.

        13.    Attached herein as Exhibit 12 is a true and correct copy of the ADX General

Population Hearing Administrator’s Report for Plaintiff Daniel Troya.

        14.    Attached herein as Exhibit 13 is a true and correct copy of the ADX General

Population Hearing Administrator’s Report for Plaintiff Rejon Taylor.

        15.    Attached as Exhibit 14 is a true and correct copy of the ADX Institution

Supplement, FLM 5321.09(1)(A).

        16.    Attached herein as Exhibit 15 is the declaration of Amelia Bizzaro, post-conviction



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counsel for Plaintiff Wesley Coonce.

       17.     Attached herein as Exhibit 16 is the declaration of Charity Brady, post-conviction

counsel for Plaintiff Brandon Council.

       18.     Attached herein as Exhibit 17 is the declaration of Blair Brown, post-conviction

counsel for Plaintiff Thomas Hager.

       19.     Attached herein as Exhibit 18 is the declaration of Andrew Childers, post-

conviction counsel for Plaintiff Richard Jackson.

       20.     Attached herein as Exhibit 19 is the declaration of Joanne Heisey, post-conviction

counsel for Plaintiff James Roane.

       21.     Attached herein as Exhibit 20 is the declaration of Kelley Henry, post-conviction

counsel for Plaintiff Rejon Taylor.

       22.     Attached herein as Exhibit 21 is the declaration of Mary Kincaid, post-conviction

counsel for Plaintiff Ricardo Sanchez.

       23.     Attached herein as Exhibit 22 is the declaration of Gerald King, post-conviction

counsel for Plaintiff Richard Tipton.

       24.     Attached herein as Exhibit 23 is the declaration of Lindsey Layer, post-conviction

counsel for Plaintiff Brandon Basham.

       25.     Attached herein as Exhibit 24 is the declaration of Robert Lee, post-conviction

counsel for Plaintiff David Runyon.

       26.     Attached herein as Exhibit 25 is the declaration of Eliza Meredith, post-conviction

counsel for Plaintiff Norris Holder.

       27.     Attached herein as Exhibit 26 is the declaration of Kelly Miller, post-conviction

counsel for Plaintiff Alejandro Umaña.



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        28.     Attached herein as Exhibit 27 is the declaration of Jason Mooney, post-conviction

counsel for Plaintiff Daniel Troya.

        29.     Attached herein as Exhibit 28 is the declaration of Kimberly Newberry, post-

conviction counsel for Plaintiff Daryl Lawrence.

        30.     Attached herein as Exhibit 29 is the declaration of David Park, post-conviction

counsel for Plaintiff Julius Robinson.

        31.     Attached herein as Exhibit 30 is the declaration of Italia Patti, post-conviction

counsel for Plaintiff Charles Hall, referred to as the “Patti (Hall) Decl.”.

        32.     Attached herein as Exhibit 31 is the declaration of Italia Patti, post-conviction

counsel for Plaintiff Jurijus Kadamovas, referred to as the “Patti (Kadamovas) Decl.”.

        33.     Attached herein as Exhibit 32 is the declaration of Leane Renee, post-conviction

counsel for Plaintiff Ronald Mikos.

        34.     Attached herein as Exhibit 33 is the declaration of Plaintiff Rejon Taylor.

        35.     Attached herein as Exhibit 34 is the declaration of Alejandro Villaseñor, post-

conviction counsel for Plaintiff Iouri Mikhel.

        36.     Attached herein as Exhibit 35 is the declaration of Peter Williams, post-conviction

counsel for Plaintiff Chadrick Fulks.



        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 16th day of April, 2025, at Washington, D.C.




                                                        Corene T. Kendrick
                                                        Attorney for Plaintiffs



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